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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


STEPHANIE CLIFFORD a.k.a.              :   Civil Action No. 2:19-CV-00119
STORMY DANIELS, an individual,         :
                                       :   Judge: Michael H. Watson
                                       :
                Plaintiff,             :   Magistrate Judge: Elizabeth P. Deavers
                                       :
    v.                                 :
                                       :
SHANA M. KECKLEY, et. al.              :
                                       :
                                       :
                 Defendants.           :

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STEPHANIE CLIFFORD                     :
AKA STORMY DANIELS                     :   Civil Action No. 2:19-MC-47-MHW-KAJ
                                       :
         Plaintiff,                    :   Judge: Michael H. Watson
                                       :
         v.                            :   Magistrate Judge: Kimberly A. Jolson
                                       :
DONALD J. TRUMP                        :
                                       :
         Defendant.                    :


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     PLAINTIFF CLIFFORD’S REPLY TO TRUMP’S RESPONSE TO
              PLAINTIFF’S NOTICE TO THE COURT
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       Plaintiff Stephanie Clifford replies to Donald J. Trump’s Response (Dkt. 58) to her Notice

to the Court (Dkt. 57). In her notice, Ms. Clifford had advised this Court that following her motion

to the Central District of California to annul its Court Clerk’s Certification of Judgment, the Clerk,

within days of that motion, sua sponte filed a Notice of Clerical Error. The Notice of Clerical Error

rescinded the Court Clerk’s prior certification of the CIVIL MINUTE ORDER that Mr. Trump

sought to have registered in this district as a money judgment. The C.D. of California Court Clerk

made clear that the order Mr. Trump was calling a judgment is “not a judgment. Therefore, it

cannot be certified as a judgment.” Dkt. 57-1.

       In his response, Mr. Trump essentially claims that, even without a certified judgment, this

Court can ignore 28 U.S.C. §1963’s clear words and register and enforce a minute order awarding

attorney fees and costs as a “final judgment.” Second, he also claims that the Court Clerk’s decision

and conclusion to rescind certification of the order are erroneous and this Court should essentially

ignore them. Finally, he claims that the Court Clerk’s actions do not have the imprimatur of the

C.D. of California, thus are invalid.

       Mr. Trump’s arguments lack merit and are unmoored from the salient facts and procedural

posture of this proceeding. To begin with, Mr. Trump sought to register the CIVIL MINUTE-

ORDER GENERAL in this district under 28 U.S.C. §1963, the registration of judgments statute.

“We begin, as usual, with the statutory text.” Maslenjak v. United States, 137 S. Ct. 1918, 1924

(2017). Section 1963 provides that a judgment can be registered only in another federal judicial

district “by filing a certified copy of the judgment . . . when the judgment has become final by

appeal or expiration of the time for appeal or when ordered by the court that entered the judgment

for good cause shown.” 28 U.S.C. §1963 (emphasis added). If, as here, “the language of the statute

is clear, the court applies the statute as written.” In re Corrin, 849 F.3d 653, 657 (6th Cir. 2017).



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        The C.D. of California Court Clerk rescinded the prior certification because it was as a

result of a clerical error. See Dkt. 57-1. With that rescission, the prior certification was effectively

abrogated and canceled. See, Rescind, Black’s Law Dictionary 1562 (11th 2019). There is, thus,

no certified judgment (or otherwise) to trigger registration under 28 U.S.C. §1963. The C.D. of

California Court Clerk also confirmed that the order Mr. Trump sought to register in this district

is not a final judgment. See Dkt. 57-1.

        Mr. Trump’s claims that the Court Clerk’s actions where done without the C.D. of

California’s approval or acquiescence lack merit. As noted, the C.D. of California Court Clerk,

within days of Ms. Clifford’s motion challenging the propriety of her certification of a minute

order as a final judgment, sua sponte filed a Notice of Clerical Error. The Court Clerk’s actions

have received the District Judge’s imprimatur because after reviewing Ms. Clifford’s motion and

the Court Clerk’s actions, the district court judge determined that Plaintiff’s grievance and motion

about the propriety of the Court Clerk’s certification were moot. See Order of C.D. of California

Denying as Moot Motion to Annul or Vacate Court Clerk’s Certification, enclosed as Exhibit A.

        Thus, without a certified final judgment, Mr. Trump cannot satisfy 28 U.S.C. §1963. That

is reason enough for this Court not to register (or enforce as a valid judicial lien in this district) the

minute order. More so when, as here, the issuing court does not even consider the minute order a

final registrable judgment. See Dkt. 57-1; see also Ex. A. In fact, this is a fitting juncture to apply

“the cardinal principle of judicial restraint — if it is not necessary to decide more, it is necessary

not to decide more — [which] counsels [this Court] to go no further.” PDK Labs. Inc. v. U.S.

D.E.A., 362 F.3d 786, 799 (D.C. Cir. 2004) (Roberts, J., concurring in part and concurring in

judgment).




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       Simply put, there is no underlying judgment that this Court may register as a foreign

judgment. As a result, the plain language of 28 U.S.C. §1963 excludes the erroneous registering

of any order that lacks certification as a judgment by the issuing clerk.

       Mr. Trump was wrong to attack the actions of the C.D. Court Clerk in this Court. Whether

the C.D. of California or its Court Clerk are wrong about the status of the minute order at issue are

not questions this Court has subject-matter jurisdiction to review. We are unaware of any subject-

matter jurisdiction that exists for one federal judge from one district to review (and essentially

entertain an appeal) of an order from another federal judge under these circumstances. Cf. Welch

v. Coffman, 8 F. App’x 435, 436 (6th Cir. 2001) (unpublished) (dismissing for lack of subject-

matter jurisdiction a lawsuit against a district court judge for dismissing a case brought before

another district court judge in the same district).

       In sum, there being no adverse party here with a valid judicial lien on the settlement

proceeds, this Court should release those proceeds deposited with the Court to Ms. Clifford and

her counsel.

                                               Respectfully Submitted,

                                               /s/ Chase A. Mallory__     __
                                               Chase A. Mallory (0084728)
                                               Chase@SabolMallory.com
                                               SABOL MALLORY, LLC
                                               743 South Front Street
                                               Columbus, Ohio 43206
                                               phone: (614) 300-5088
                                               fax: (614) 636-4545

                                               /s/ Daniel J. Sabol
                                               Daniel J. Sabol (0081403)
                                               Dan@SabolMallory.com
                                               SABOL MALLORY, LLC
                                               743 South Front Street
                                               Columbus, Ohio 43206
                                               phone: (614) 300-5088

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                                           /s/ Guy A. Fortney
                                           Clark O. Brewster - OBA #1114 (Admitted Pro Hac)
                                           Guy A. Fortney - OBA #17027 (Admitted Pro Hac)
                                           Mbilike Mwafulirwa OBA# 31164 (Pro Hac)
                                           BREWSTER & DE ANGELIS
                                           2617 East 21st Street
                                           Tulsa, OK 74114
                                           (918) 742-2021 - Telephone
                                           (918) 742-2197 - Facsimile

                                           Attorneys for the Plaintiff




                               CERTIFICATE OF SERVICE

      I certify that on April 17, 2020 a true and exact copy of the above and foregoing document
   was served via the Court’s CM/ECF filing system to all registered counsel of record.




                                                   /s/ Guy A. Fortney




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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

  Case No. 2:18-cv-06893-JLS-FFM                                        Date: April 15, 2020
  Title: Stephanie Clifford v. Donald J. Trump
  Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

        Terry Guerrero                                                 N/A
         Deputy Clerk                                             Court Reporter

  ATTORNEYS PRESENT FOR PLAINTIFF:               ATTORNEYS PRESENT FOR DEFENDANT:

                Not Present                                       Not Present

  PROCEEDINGS: (IN CHAMBERS) ORDER DENYING AS MOOT MOTION
               TO ANNUL OR VACATE (Doc. 64)

         Before the Court is Plaintiff’s Motion to Annul or Vacate the Clerk of Court’s
  Certification of Civil Minute Order, currently set for hearing on May 18, 2020, at 10:00
  a.m. (Doc. 64.) On April 10, 2020, the Clerk of Court issued a Notice of Clerical Error
  stating that the certification at issue (Doc. 46) had been issued in error. Accordingly, the
  Motion to Annul or Vacate is DENIED AS MOOT.

                                                                       Initials of Preparer: tg




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                           CIVIL MINUTES – GENERAL                            1
